      Case 2:03-cr-02023-SAB    ECF No. 138   filed 11/20/15   PageID.389 Page 1 of 16




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 6
 7
                      UNITED STATES DISTRICT COURT
 8                   EASTERN DISTRICT OF WASHINGTON
                        The Honorable Stanley A. Bastian
 9
10   United States of America,
11                               Plaintiff,         No. 2:03-CR-2023-SAB
12
           v.                                       28 U.S.C. § 2255
13                                                  Petition to Vacate Sentence
     Paul Hines,                                    and for Immediate Release
14
                               Petitioner.          With Oral Argument
15                                                  December 9, 2015 at 3:00 pm
                                                    Yakima, WA
16
17
            Paul Hines petitions this Court to issue an order vacating his
18
19   sentence, issuing a new judgment, and providing for his immediate

20   release. As explained in detail below, Mr. Hines has already served
21
     more than the ten-year maximum sentence that would have applied
22
23   without the determination that he was an Armed Career Criminal. He

24
25

     Petition to Vacate Sentence: 1
         Case 2:03-cr-02023-SAB   ECF No. 138   filed 11/20/15   PageID.390 Page 2 of 16




 1   is thus currently serving a sentence in excess of that authorized by
 2
     law. 1
 3
 4            The defense has requested an expedited hearing on this petition

 5   because of the liberty interest involved. The Government is in
 6
     agreement with an expedited hearing, provided that it is able to
 7
 8   respond to this petition no later than December 2, 2015. The defense

 9   has no objection to that response deadline and requests twenty-four
10
     hours to reply following the Government’s filing.
11
12            Additionally, because this petition “involves only a conference or

13   hearing on a question of law” Mr. Hines need not be present for the
14
     petition’s argument or adjudication. See Fed. R. Crim. P. 43.
15
16                                     I. Background

17            On March 11, 2003, a grand jury returned a two-count
18
     Superseding Indictment charging Mr. Hines with felon in possession of
19
     a firearm, in violation of 18 U.S.C. § 922(g)(1), and false statement in
20
21
22   1   Title 28 U.S. Code § 2255 specifically provides that any motion
23
     claiming that a sentence is “in excess of the maximum authorized by
24
     law” should be made in the “court which imposed the sentence[.]” This
25
     Court therefore has jurisdiction over this habeas action.
     Petition to Vacate Sentence: 2
      Case 2:03-cr-02023-SAB    ECF No. 138   filed 11/20/15   PageID.391 Page 3 of 16




 1   acquisition of a firearm under 18 U.S.C. § 922(a)(6). A § 922(g)(1)
 2
     violation normally carries a statutory maximum ten-year term of
 3
 4   imprisonment; likewise with a violation of § 922(a)(6). See 18 U.S.C. §

 5   924(a)(2). At that time, Mr. Hines had two convictions for Second
 6
     Degree Burglary in Washington, which were determined to be
 7
 8   qualifying offenses under the Armed Career Criminal Act (“ACCA”), 18

 9   U.S.C. § 924(e)(2)(B).
10
           In light of newly decided Supreme Court precedent that
11
12   invalidated the so-called “residual clause” of the ACCA, however, these

13   burglaries do not properly form the basis for the ACCA sentencing
14
     enhancement. See Johnson v. United States, __ U.S. __, 135 S. Ct. 2251
15
16   (2015). In Johnson, the Supreme Court overruled Sykes v. United

17   States, __U.S. __, 131 S.Ct. 2267 (2011), and James v. United States,
18
     550 U.S. 192 (2007), and held that imposing an increased sentence
19
20   under the residual clause of the ACCA violates the Constitution’s

21   guarantee of due process. Given Johnson, Mr. Hines’ ACCA sentence
22
     can be upheld only if his Washington State burglary convictions were
23
24   violent felonies under either the categorical or modified categorical

25   approach. For the reasons discussed below, the Washington State

     Petition to Vacate Sentence: 3
      Case 2:03-cr-02023-SAB    ECF No. 138   filed 11/20/15   PageID.392 Page 4 of 16




 1   burglaries do not qualify as predicate felonies under ACCA under any
 2
     approach. Mr. Hines is therefore actually innocent of being an Armed
 3
 4   Career Criminal and is entitled to immediate relief as he has been

 5   incarcerated beyond the ten-year statutory maximum applicable to his
 6
     crime.
 7
 8                                    II.   Discussion

 9            A. Washington’s second-degree burglary statute is
10               categorically broader than the generic definition of
                 burglary.
11
12         To determine whether a past conviction is for a “violent felony”

13   under the ACCA, “courts use what has become known as the
14
     ‘categorical approach’: They compare the elements of the statute
15
16   forming the basis of the defendant’s conviction with the elements of the

17   ‘generic’ crime—i.e., the offense as commonly understood.” Descamps v.
18
     United States, 133 S. Ct. 2276, 2281 (2013). “The prior conviction
19
20   qualifies as an ACCA predicate only if the statute’s elements are the

21   same as, or narrower than, those of the generic offense.” Id.
22
           Washington’s second-degree burglary statute, the crime to which
23
24   Mr. Hines pled in 1986 and 1989 and formed the basis of his ACCA

25   sentence, was former RCW § 9A.52.030(1). That provision provided:

     Petition to Vacate Sentence: 4
      Case 2:03-cr-02023-SAB    ECF No. 138   filed 11/20/15   PageID.393 Page 5 of 16




 1   “[a] person is guilty of burglary in the second degree if, with intent to
 2
     commit a crime against a person or property therein, he enters or
 3
 4   remains unlawfully in a building other than a vehicle.” State v.

 5   Deitchler, 75 Wash. App. 134, 136, 876 P.2d 970, 971 (1994) (quoting
 6
     former RCW § 9A.52.030(1)); see also State v. Couch, 44 Wash. App. 26,
 7
 8   29, 720 P.2d 1387, 1389 (1986) (requiring “the unlawful entry or

 9   remaining unlawfully in a building, and the intent to commit a crime
10
     within”). The statute defined “building” to include
11
12         . . . any dwelling, fenced area, vehicle, railway car, cargo
           container, or any other structure used for lodging of persons
13         or for carrying on business therein, or for the use, sale, or
14         deposit of goods; each unit of a building consisting of two or
           more units separately secured or occupied is a separate
15         building.
16
     RCW § 9A.04.110; Couch, 44 Wash. App. at 29. Generic “burglary” is
17
18   defined as under federal law as “unlawful or unprivileged entry into, or

19   remaining in, a building or structure, with intent to commit a crime.”
20
     Descamps, at 2283.
21
22         For two independent reasons, the Washington burglary statute

23   does not align with the federal definition. First, in 2003, the Ninth
24
     Circuit has held that second-degree burglary is not a categorical crime
25

     Petition to Vacate Sentence: 5
      Case 2:03-cr-02023-SAB    ECF No. 138   filed 11/20/15   PageID.394 Page 6 of 16




 1   of violence because “burglary” “must involve a ‘building or structure’
 2
     under Taylor,” and “[s]ome things that are [buildings] under
 3
 4   Washington law (e.g., fenced areas, railway cars, and cargo containers)

 5   are not buildings or structures under federal law.” United States v.
 6
     Wenner, 351 F.3d 969, 972–73 (9th Cir. 2003); see also United States
 7
 8   v. Guerrero-Velasquez, 434 F.3d 1193, 1196 n.3 (9th Cir. 2006).

 9         Second, Washington second degree burglary does not require “an
10
     unlawful entry along the lines of breaking and entering,” which is also
11
12   an element of generic burglary. See Descamps v. United States, 133 S.

13   Ct. 2276, 2285 (2013). Under Washington law, a person may be guilty
14
     of burglary even without an unlawful entry, such as if he enters
15
16   lawfully under a limited license and then proceeds to exceed the scope

17   of that license by “remaining unlawfully.” See, e.g., State v. Collins,
18
     110 Wash. 2d 253, 256, 751 P.2d 837, 838 (1988); see also, e.g., United
19
20   States v. Wilkinson, 589 F. App’x 348, 350 (9th Cir. 2014) (holding that

21   Washington residential burglary statute is overbroad as to the
22
     “remains unlawfully” language) (unpublished).
23
24            B. The modified categorical approach is not appropriate
                 in this case because the Washington second-degree
25               burglary statute is indivisible.

     Petition to Vacate Sentence: 6
      Case 2:03-cr-02023-SAB    ECF No. 138   filed 11/20/15   PageID.395 Page 7 of 16




 1
 2         If defendant is convicted under an “‘indivisible statute’—i.e., one

 3   not containing alternative elements—that criminalizes a broader
 4
     swath of conduct than the relevant generic offense,” then sentencing
 5
 6   courts may not apply the modified categorical approach, and the

 7   analysis ends at the categorical approach outlined above. Id. at 2281–
 8
     82.
 9
10         In Descamps, the U.S. Supreme Court noted the definition of a

11   divisible statute as one “that sets out one or more of the elements of the
12
     offense in the alternative.” Id. at 2281 (emphasis added). If the statute
13
14   sets forth elements in the alternative then “the modified categorical

15   approach permits sentencing courts to consult a limited class of
16
     documents, such as indictments and jury instructions, to determine
17
18   which alternative formed the basis of the defendant’s prior conviction.”

19   Id.
20
           In Rendon v. Holder, 764 F.3d 1077 (2014), the Ninth Circuit
21
22   clarified the test to determine whether a statute was divisible. It noted

23   that “while indivisible statutes may contain multiple, alternative
24
     means of committing the crime, only divisible statutes contain
25

     Petition to Vacate Sentence: 7
      Case 2:03-cr-02023-SAB    ECF No. 138   filed 11/20/15   PageID.396 Page 8 of 16




 1   multiple, alternative elements of functionally separate crimes.” Id. at
 2
     1085 (emphases added). “Any statutory phrase that—explicitly or
 3
 4   implicitly—refers to multiple, alternative means of commission must

 5   still be regarded as indivisible if the jurors need not agree on which
 6
     method of committing the offense the defendant used.” Id. at 1085.
 7
 8   Elements are “those circumstances on which the jury must

 9   unanimously agree,” while “means” are “those circumstances on which
10
     the jury may disagree yet still convict.” Id. at 1086. Thus, the
11
12   touchstone of divisibility is juror unanimity.

13         The facts of Rendon highlight the importance of this distinction.
14
     There, the Ninth Circuit applied the divisibility test to California’s
15
16   second degree burglary statute, which prohibited entry “with intent to

17   commit grand or petit larceny or any felony.” Id. at 1089. The
18
     Government argued that the use of “or” indicated alternative elements.
19
20   The court emphasized that the phrasing of the statute did not answer

21   the relevant question: “[T]he fact that section 459 contains two types of
22
     offenses preceding an “or” and a general category of offenses following
23
24   the ‘or’ is in itself of no significance.” Id. at 1090. If the jury is not

25   required to find a particular phrase set forth in a statute unanimously

     Petition to Vacate Sentence: 8
         Case 2:03-cr-02023-SAB   ECF No. 138   filed 11/20/15   PageID.397 Page 9 of 16




 1   in order to convict, then it is merely a means and not an element. The
 2
     statute is thus indivisible.
 3
 4           The recently-decided United States v. Dixon, No. 14-10318 (9th

 5   Cir., November 20, 2015) similarly explains that “[a] statute is not
 6
     divisible merely because it is worded in the disjunctive.” (Slip. Op. at
 7
 8   11) (attached as Exhibit A). The statute at issue in Dixon, California

 9   Penal Code § 211 (robbery), had two disjunctively worded phrases –
10
     “person or immediate presence,” and “force or fear.” 2 The California
11
12   model jury instructions explain that the elements of CPC § 211 include,

13   in relevant part, that “(1) the defendant took property that was not his
14
     own . . . (3) the property was taken from the other person or his
15
16   immediate presence. . . (5) the defendant used force or fear to take the

17   property or to prevent the other person from resisting. . . [.]” Dixon, at
18
     11 (emphasis added). Dixon held that, because the jury would not need
19
20
21
22   2   California Penal Code § 211 provides that “Robbery is the felonious
23
     taking of personal property in the possession of another, from his
24
     person or immediate presence, and against his will, accomplished by
25
     means of force or fear.”
     Petition to Vacate Sentence: 9
     Case 2:03-cr-02023-SAB    ECF No. 138   filed 11/20/15   PageID.398 Page 10 of 16




 1   to agree on the disjunctively worded alternatives in (3) and (5), the
 2
     statute was therefore indivisible:
 3
 4         . . . jurors must agree that element (3) is met—but the jury
           can return a guilty verdict even if some jurors believe the
 5         defendant took property from the victim’s person and other
 6         jurors believe the defendant took the property from the
           victim’s immediate presence. Similarly, for element (5), a
 7         jury can return a guilty verdict even if some jurors believe
 8         the defendant used force and others believe the defendant
           used fear.
 9
10   Id. at 12.

11         Like the California second-degree burglary and robbery statutes,
12
     the Washington State second-degree burglary statute is indivisible
13
14   because it contains alternative means of committing the crime and not

15   alternative elements.
16
           Washington case law is clear that “building” is a single element of
17
18   second-degree burglary and does not encompass separate, alternative

19   crimes. See, e.g., State v. Ponce, 269 P.3d 408 (Wash. App. 2012) (“[T]he
20
     first element of second degree burglary the State was required to prove
21
22   [was] that the defendant entered or remained unlawfully in a

23   building”); State v. Soto, 727 P.2d 999 (Wash. App. 1986) (“Second
24
     degree burglary requires the following elements: The actor must, with
25

     Petition to Vacate Sentence: 10
     Case 2:03-cr-02023-SAB    ECF No. 138   filed 11/20/15   PageID.399 Page 11 of 16




 1   the intent to commit a crime against a person or property therein,
 2
     enter or remain unlawfully in a building”).
 3
 4         Even though this statute contains disjunctive phrases, the

 5   Washington Pattern Instructions—Criminal (WPIC) 60.04—provides
 6
     that one of the elements of second degree burglary is: “That on or about
 7
 8   (date), the defendant entered or remained unlawfully in a building

 9   [other than a dwelling][.]” The statute defining building lists different
10
     types of structures that satisfy that element of the offense, but as a
11
12   matter of state law, jurors need not agree on definitional alternatives.

13   State v. Linehan, 147 Wash.2d 638, 56 P.3d 542 (2002). Indeed,
14
     Washington courts have repeatedly rejected the contention that jurors
15
16   must agree on alternatives contained within definitional statutes. See,

17   e.g. State v. Laico, 987 P.2d 638 (Wash. App. 1999); State v. Strohm,
18
     879 P.2d 962 (Wash. App. 1994); State v. Garvin, 621 P.2d 215 (Wash.
19
20   App. 1980).

21         Similarly, the Washington state pattern instruction defining
22
     “building” does not instruct jurors that they must unanimously agree
23
24   on the type of structure entered to convict a defendant of second degree

25   burglary. WPIC 2.05. In short, the definition of “building” provides

     Petition to Vacate Sentence: 11
     Case 2:03-cr-02023-SAB    ECF No. 138   filed 11/20/15   PageID.400 Page 12 of 16




 1   alternative means of committing that crime, but does not define
 2
     functionally separate crimes. Therefore the statute is indivisible.
 3
 4         Because the factual inquiries appropriate under the modified

 5   categorical approach apply only to divisible statutes, it should not be
 6
     applied here. Washington second-degree burglary is indivisible and
 7
 8   overbroad. It is not a categorical match to the generic definition of

 9   burglary. The Washington burglary statute can therefore never be
10
     used as an ACCA predicate.
11
12         This conclusion is in line with the as yet undisturbed holdings of

13   Wenner and Wilkinson, and it is the conclusion that was reached by
14
     two other district courts in the Ninth Circuit upon reviewing similar
15
16   ACCA habeas petitions in light of Johnson. These district court

17   decisions are discussed below.
18
              C. Mr. Hines is “actually innocent” of being an Armed
19               Career Criminal.
20
           Because the Washington second-degree burglary statute is
21
22   overbroad, Mr. Hines’ convictions under that statute cannot be used as

23   ACCA predicates. He has therefore established a sentencing innocence
24
     claim (i.e. that he is “actually innocent” of the ACCA enhanced
25

     Petition to Vacate Sentence: 12
     Case 2:03-cr-02023-SAB    ECF No. 138   filed 11/20/15   PageID.401 Page 13 of 16




 1   sentence) and is serving an illegal sentence under the ACCA in
 2
     violation of the Due Process Clause.
 3
 4         Under the Antiterrorism and Effective Death Penalty Act of 1996

 5   (“AEDPA”), “a state prisoner ordinarily has one year to file a federal
 6
     petition for habeas corpus, starting from ‘the date on which the
 7
 8   judgment became final by the conclusion of direct review or the

 9   expiration of the time for seeking such review.’” McQuiggin v. Perkins,
10
     133 S. Ct. 1924, 1929 (2013) (quoting 28 U.S.C. § 2244(d)(1)(A)).
11
12   Additionally, claims not raised on direct appeal may be considered

13   procedurally defaulted. See Massaro v. United States, 538 U.S. 500,
14
     504 (2003).
15
16         This bar can be overcome, however. A petitioner may overcome

17   the bar by showing that: (1) there was a cause for the default and (2)
18
     that a petitioner is suffering prejudice as a result. Martinez v. Ryan,
19
20   132 S. Ct. 1309, 1316 (2012). In the alternative, the bar can be

21   overcome by “a credible showing of actual innocence.” McQuiggin v.
22
     Perkins, 133 S. Ct. 1924, 1931 (2013). “Actual innocence, if proved,
23
24   serves as a gateway through which a petitioner may pass”

25   notwithstanding the existence of a procedural bar. Id. at 1928.

     Petition to Vacate Sentence: 13
     Case 2:03-cr-02023-SAB    ECF No. 138   filed 11/20/15   PageID.402 Page 14 of 16




 1         Mr. Hines is “actually innocent” of being an armed career
 2
     criminal because he received a sentence for which he was statutorily
 3
 4   ineligible. He has already served longer than the statutory maximum

 5   of 10 years for his underlying conviction. This is a constitutional
 6
     violation. In recent months and weeks, at least two district courts in
 7
 8   the Ninth Circuit reviewing habeas corpus petitions in light of Johnson

 9   have reached this conclusion. See, e.g., Summers v. Feather, No. 3:14-
10
     CV-00390-SU, 2015 WL 4663277 (D. Or. Aug. 5, 2015) (explaining that
11
12   second degree burglary in Washington State does not qualify as a

13   predicate felony under ACCA in light of Johnson; issuing a scheduling
14
     order for resentencing based on Johnson claim); Charles Murray v.
15
16   United States, No. 3:15-cv-05720-RJB (E. D. Wa. Nov. 9, 2015)

17   (attached as Exhibit A) (explaining that second degree burglary in
18
     Washington State does not qualify as a predicate felony under ACCA in
19
20   light of Johnson; vacating sentence and ordering release of petitioner).

21         The Summers court found that “[a]n improper ACCA sentence
22
     enhancement satisfies the actual innocence requirement of escape
23
24   hatch jurisdiction” in the § 2241 habeas context. Summers v. Feather,

25   2015 WL 4663277. Similarly, the Murray court explained that Mr.

     Petition to Vacate Sentence: 14
     Case 2:03-cr-02023-SAB    ECF No. 138   filed 11/20/15   PageID.403 Page 15 of 16




 1   Murray was “‘actually innocent’ of being an armed career criminal for
 2
     the purposes of showing cause and in excusing his procedural default”
 3
 4   and that he had “shown prejudice—he was sentenced in excess of the

 5   statutory maximum.” Murray, slip op. at 9.
 6
                                       III. Conclusion
 7
 8         In conclusion, Mr. Hines is not an Armed Career Criminal and he

 9   is serving an illegal sentence. This Court should vacate Mr. Hines’
10
     conviction and sentence in light of Johnson. This Court should further
11
12   order that Mr. Hines be released from custody immediately and that a

13   new Judgment be issued specifying a statutory sentence of ten years.
14
     //
15
16   Dated: November 20, 2015.

17
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     Petition to Vacate Sentence: 15
     Case 2:03-cr-02023-SAB    ECF No. 138   filed 11/20/15   PageID.404 Page 16 of 16




 1
 2                                Certificate of Service
 3
           I hereby certify that on November 20, 2015, I electronically filed
 4
     the foregoing with the Clerk of the Court using the CM/ECF System
 5
     which will send notification of such filing to the following:
 6
           Ian L. Garriques, Assistant United States Attorney.
 7
 8                                             s/ Alison K. Guernsey
                                               Alison K. Guernsey
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     Petition to Vacate Sentence: 16
